                         BEFORE THE UNITED STATES
               JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

                                                     MDL No. 3056
 In re: KeyBank Customer Data Security
 Breach Litigation                                    Individual Case Captions:

                                                          ▪   Martin v. KeyBank N.A., et al.,
                                                              Case No. 2:22-cv-01346 (W.D. Pa.).

                                                          ▪   Bozin v. KeyBank N.A., et al.,
                                                              Case No. 1:22-cv-01536 (N.D. Ohio).

                                                          ▪   Urciuoli v. KeyBank N.A., et al.,
                                                              Case No. 1:22-cv-1598 (N.D. Ohio).

                                                          ▪   Marlowe v. Overby-Seawell Co., et al.,
                                                              Case No. 1:22-cv-03648 (N.D. Ga.).

                                                          ▪   Samsel v. Overby-Seawell Co., et al.,
                                                              Case No. 1:22-cv-03593 (N.D. Ga.).

                                                          ▪   Archer v. Overby-Seawell Co., et al.,
                                                              Case No. 1:22-cv-03780 (N.D. Ga.).


                                       Notice of Appearance

       In compliance with J.P.M.L. Rule 4.1(c), the following designated attorney is authorized

to receive service of all pleadings, notices, orders, and other papers relating to practice before the

United States Judicial Panel on Multidistrict Litigation on behalf of Defendants KeyBank, N.A.

and KeyCorp. I am aware that only one attorney can be designated for each party.


Date: October 31, 2022                                 /s/ James J. Pastore, Jr.
                                                       James J. Pastore, Jr.
                                                       Debevoise & Plimpton LLP
                                                       919 Third Avenue
                                                       New York, NY 1002
                                                       Telephone: (212) 909-6793
                                                       Facsimile: (212) 909-6836
                                                       Email: jjpastore@debevoise.com

                                                       Counsel for Defendants KeyBank, N.A. and
                                                       KeyCorp
                                CERTIFICATE OF SERVICE

       I hereby certify that, pursuant to J.P.M.L. Rule 4.1(a), on October 31, 2022, I filed this

Notice of Appearance with the J.M.P.L.’s CM/ECF system, which will serve each of the parties

to this MDL electronically.


 Dated: October 31, 2022                       /s/ James J. Pastore Jr.
                                               James J. Pastore, Jr.

                                               Counsel for Defendants KeyBank, N.A.
                                               and KeyCorp
